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                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE MIDDLE DISTRICT OF FLORIDA
                               ORLANDO DIVISION
In re:

MANUEL JOVINO MATOS                                               CASE NO. 19-bk-02183-KSJ
                                                                  CHAPTER 7
                  Debtor.
_______________________________/

                 MOTION FOR RELIEF FROM THE AUTOMATIC STAY

              NOTICE OF OPPORTUNITY TO OBJECT AND FOR HEARING

PURSUANT TO LOCAL RULE 2002-4, THE COURT WILL CONSIDER THE RELIEF
REQUESTED IN THIS PAPER WITHOUT FURTHER NOTICE OR HEARING UNLESS
A PARTY IN INTEREST FILES A RESPONSE WITHIN TWENTY-ONE (21) DAYS
FROM THE DATE SET FORTH ON THE ATTACHED PROOF OF SERVICE, PLUS AN
ADDITIONAL THREE DAYS FOR SERVICE IF ANY PARTY WAS SERVED BY U.S.
MAIL.

IF YOU OBJECT TO THE RELIEF REQUESTED IN THIS PAPER, YOU MUST FILE A
RESPONSE WITH THE CLERK OF THE COURT AT THE GEORGE C. YOUNG
FEDERAL COURTHOUSE 400 WEST WASHINGTON STREET, SUITE 5100,
ORLANDO, FL 32801 AND SERVE A COPY ON THE MOVANT’S ATTORNEY, GAVIN
STEWART, P.O. BOX 5703, CLEARWATER, FL 33758, AND ANY OTHER
APPROPRIATE PERSONS WITHIN THE TIME ALLOWED. IF YOU FILE AND SERVE
A RESPONSE WITHIN THE TIME PERMITTED, THE COURT WILL EITHER
SCHEDULE AND NOTIFY YOU OF A HEARING, OR CONSIDER THE RESPONSE
AND GRANT OR DENY THE RELIEF REQUESTED WITHOUT A HEARING.

IF YOU DO NOT FILE A RESPONSE WITHIN THE TIME PERMITTED, THE COURT
WILL CONSIDER THAT YOU DO NOT OPPOSE THE RELIEF REQUESTED IN THE
PAPER, WILL PROCEED TO CONSIDER THE PAPER WITHOUT FURTHER NOTICE
OR HEARING, AND MAY GRANT THE RELIEF REQUESTED.

         Wells Fargo Bank, N.A. as Trustee for the MASTR Asset Backed Securities Trust 2007-

NCW Mortgage Pass-Through Certificates Series 2007-NCW (“Movant”) seeks, pursuant to 11

U.S.C. §362(d), for relief from the automatic stay and states:

         1.    On August 16, 2018, the Circuit Court in and for Orange County, Florida entered a

Final Judgment of Foreclosure against Debtor regarding the following property:
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LOT 96, GROVEHURST AT STONECREST, AS PER PLAT THEREOF, RECORDED IN
PLAT BOOK 63, PAGE 108, OF THE PUBLIC RECORDS OF ORANGE COUNTY,
FLORIDA.

AKA 1013 Araminta Street, Winter Garden, Florida 34787 (“Property”).

       2.      Specialized Loan Servicing LLC services the loan on the Property referenced in

this Motion. In the event the automatic stay in this case is modified, this case dismisses, and/or

the Debtor obtains a discharge and a foreclosure action is continued on the mortgaged property,

the foreclosure will be conducted in the name of Movant or Movant’s successor or assignee.

Movant, directly or through an agent, has possession of the promissory note referenced in the Final

Judgment of Foreclosure and has the ability to enforce and foreclose its lien. The note has been

duly endorsed and Movant is the assignee of the mortgage. A copy of the Final Judgment is

attached hereto as Exhibit “A.”

       3.      The Final Judgment of Foreclosure is in the amount of $173,046.50 and, as of April

16, 2019, the total debt owed was $193,475.48.

       4.      According to the Orange County Property Appraiser, the value of the Property is

$200,940.00. A copy of the Orange County Property Appraiser record card is attached hereto as

Composite Exhibit “A.”

       5.      It would be inequitable to allow the Debtor to retain the Property, as there is little

to no equity above the total indebtedness.

       6.      Furthermore, cause exists to terminate the stay because Movant is not receiving

payments to protect against the erosion of its security interest in the Property and the Final

Judgment of Foreclosure commands the judicial sale of the Property.

       7.      If Movant is not permitted to enforce its lien on the Property, it will suffer

irreparable injury, loss, and damage.
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       WHEREFORE, Movant, respectfully requests the Court enter an order:

               a.      terminating the automatic stay;

               b.      permitting Movant to take any and all steps necessary to exercise any and

all rights it may have in the Property described herein; and

               c.      granting such other relief that the Court may deem just and proper.

                                                     /s/ Gavin N. Stewart
                                                     Gavin N. Stewart, Esquire
                                                     Florida Bar Number 52899
                                                     P.O. Box 5703
                                                     Clearwater, FL 33758
                                                     P: (727) 565-2653
                                                     F: (727) 213-9022
                                                     E: bk@stewartlegalgroup.com
                                                     Counsel for Movant

                                  CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing was served by CM/ECF notice

and first class mail this 18th day of April, 2019.

                                                     /s/ Gavin N. Stewart
                                                     Gavin N. Stewart, Esquire
VIA FIRST CLASS MAIL
Manuel Jovino Matos
1013 Araminta St
Winter Garden, FL 34787

VIA CM/ECF NOTICE
Robert E Thomas
Post Office Box 5075
Winter Park, FL 32793-5075
